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     Attorney for Defendant
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       ) No. 1:08-cr-00224-OWW
12                                   )
                    Plaintiff,       ) STIPULATION AND ORDER
13                                   )
          v.                         )
14                                   )
     ANTHONY D. FANTACONE,           )
15                                   )
                    Defendants.      )
16   _______________________________ )
17
18
           Defendant ANTHONY D. FANTACONE, through his attorney ROBERT L.
19
     FORKNER, and the United States, through its counsel, Assistant United States
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     Attorneys MARK CULLERS and LAUREL J. MONTOYA, hereby stipulate and
21
     request the following:
22
           1. That the Court continue the sentencing in the above-captioned case from
23
     September 13, 2010, to October 4, 2010, at 9:00 a.m.
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           2. The defense has requested the continuance in order to conduct additional
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     investigation, which is needed for the Formal Objections to the Presentence
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     Investigation Report.
27
           3. The government has not objections.
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 1          For these reasons, the parties stipulate and request that the Court exclude
 2   time within which the trial must commence under the Speedy Trial Act from
 3   September 13, 2010 through October 4, 2010, for defense preparation under 18
 4   U.S.C. § 3161(h)(8)(B)(ii) and (iv) (local codes T2 and T4).
 5
 6                                                 Respectfully submitted,
 7
 8          Dated: September 6, 2010
                                                   /s/ Robert L. Forkner
 9                                                 ROBERT L. FORKNER
                                                   Attorney for Defendant
10                                                 ANTHONY D. FANTACONE
11          Dated: September 6, 2010
                                                   /s/ Laurel Montoya
12                                                 LAUREL MONTOYA
                                                   Assistant United States Attorney
13
14
15
16                                         ORDER
17          IT IS SO ORDERED. For the reasons stated above, the Court finds that
18   the needs of defense counsel to prepare outweigh the public and the defendants’
19   interest in a speedy trial, and therefore the continuance and exclusion of time are
20   in the interest of justice.
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22          IT IS SO ORDERED.
23   Dated: September 7, 2010                    /s/ Oliver W. Wanger
     emm0d6                                 UNITED STATES DISTRICT JUDGE
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